Case 3:11-cr-02513-AJB    Document 141    Filed 04/22/13   PageID.326   Page 1 of 1



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  4                          UNITED STATES DISTRICT COURT
  5                         SOUTHERN DISTRICT OF CALIFORNIA
  6   UNITED STATES OF AMERICA,           )      Case No. 11CR2513-AJB
                                          )
  7                      Plaintiff,       )
                                          )
  8        v.                             )      ORDER AND JUDGMENT OF DISMISSAL
                                          )      OF INDICTMENT
  9                                       )
                                          )
10    VU LAM HOANG (5),                   )
                                          )
11                                        )
                         Defendant.       )
12                                        )
13         Upon application of the United States Attorney, and good cause
14    appearing therefrom,
15         IT IS HEREBY ORDERED that the Indictment charging Defendant Vu
16    Lam Hoang with one count of Conspiracy, in violation of Title 18,
17    United States Code, Section 371, ten counts of Transmission of
18    Wagering Information, in violation of Title 18, United States Code,
19    Section    1084(a),   one   count    of   Prohibition     of   Illegal   Gambling
20    Business, in violation of Title 18, United States Code, Section 1955,
21    and Aiding and Abetting, in violation of Title 18, United States Code,
22    Section 2, be dismissed without prejudice and in the interest of
23    justice.
24         IT IS SO ORDERED.
25
26    DATED:    April 22, 2013
27
                                              Hon. Anthony J. Battaglia
28                                            U.S. District Judge
